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UNITED STATES DISTRICT COURT -

WESTERN DISTRICT OF TENNESSMUG -9 sss 5= ss

 
 

 

 

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HATTIE ISEN, JUDGMENT IN A CIVIL CASE
RENA CHILDRESS, and
BEVERLY TAYLOR,
Plaintiffs,
v.
BOARD OF EDUCATION OF THE CASE NO: 2:02-2736-B
MEMPHIS CITY SCHOOLS,
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal With
Prejudice entered on August 4, 2005, this cause is hereby dismissed with prejudice.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:02-CV-02736 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

